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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION

In re: National Prescription Opiate Litigation

This document relates to:
Cobb County v. Purdue Pharma L.P. et al.                             MDL No. 2804
N.D. Ga., Civil Action No. 1:18-cv-02865-MLB


REPLY IN SUPPORT OF MOTION TO VACATE THE PANEL’S FEBRUARY 19, 2025
 CONDITIONAL REMAND ORDER & THE PANEL’S FEBRUARY 19, 2025 ORDER
  VACATING ITS PRIOR REMAND ORDER FINALIZED ON DECEMBER 3, 2024

                                        INTRODUCTION

       As Publix Super Markets, Inc. explained in its initial brief, two independent legal grounds

bar the Panel from replacing its previously finalized remand order with a new order that narrows

the scope of remand to just Cobb County’s public nuisance cause of action: (1) the Panel has no

power to vacate already-finalized remand orders, and (2) the County’s various purported causes of

action rest on the same facts and thus constitute a single “claim” which the Panel cannot split apart.

The County’s Response scarcely addresses either of these arguments—and the few points it does

raise in opposition are wrong. Instead, the Response is a 21-page—a full page over the cap, JPML

Rule 3.2(a)(iii)—exercise in missing the point. It devotes many pages to defending the

reasonableness of the transferee court’s decisions, but Publix’s point is not that the transferee court

(or the Panel) made an unreasonable judgment call; the point is that the Panel’s February 19, 2025

orders transgress the statutory limits on its authority. Nor would complying with the statute, as the

County asserts, “upend several years of work.” Response at 12. It would not even prevent a public-

nuisance-only trial. It would simply place all the County’s causes of action before the transferor

court. The limits on the Panel’s authority require that result. The Panel should heed those limits.
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                                          ARGUMENT

   I.      The Panel Had No Authority to Vacate the December 3, 2024 Order Remanding
           the Entire Case to the Transferor Court

           A. The Panel lacks the power to vacate a remand order once it is finalized

        With respect to the Panel’s authority to vacate finalized remand orders, Cobb County leaves

the critical points undisputed. The County does not contest Publix’s observation that 28 U.S.C.

§ 1407 is the Panel’s sole source of authority, see Mot. at 9–10 (citing Section 1407 and

Multidistrict Lit. Man. §§ 3:1, 3:7, 10:3), and does not attempt to identify any language in Section

1407 that could possibly authorize vacatur of finalized remand orders, see Response at 17–18.

Indeed, the County does not cite any prior case where the Panel has vacated a finalized remand

order. Nor does the County address In re Upjohn Co. Antibiotic Cleocin Products Liability

Litigation, a squarely on-point decision by a transferee court holding that it did not “retain[]

jurisdiction” to reconsider a suggestion of remand after the Panel remanded the case to the

transferor court. 508 F. Supp. 1020, 1021 (E.D. Mich. 1981). Cobb County’s silence confirms that

the Panel’s only source of authority does not authorize vacatur of finalized remand orders. This

point by itself warrants granting Publix’s Motion.

        Moreover, Publix’s initial brief pointed out that caselaw addressing analogous Section

1404(a) transfers—which likewise cannot be vacated after they are finalized—further confirms

that the Panel lacks authority to vacate finalized remand orders under Section 1407. Mot. at 11–

13; see also In re Plumbing Fixture Cases, 298 F. Supp. 484, 488 (J.P.M.L. 1968) (construing

Section 1407 and citing cases that “involved analogous questions of construction of the related

Section 1404(a)”). And here again, Cobb County hardly responds. It does not dispute that district

courts lack jurisdiction to vacate completed 1404(a) transfers. And it does not dispute that the




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remand here was complete, and that jurisdiction vested exclusively in the transferor court, long

before the Panel purported to vacate the finalized remand order. Response at 17–18.

       Instead, the County’s only reaction to this argument is to point to two inapposite decisions

that reconsidered initial transfer orders—not remand orders. Response at 17–18 (citing In re

Helicopter Crash in Germany on Sept. 26, 1975, 443 F. Supp. 447, 450 (J.P.M.L. 1978); In re

Petroleum Prods. Antitrust Litig., 419 F. Supp. 712, 715 (J.P.M.L. 1976)). The distinction between

initial transfer orders and remand orders is significant, since the completion of an initial transfer

order (unlike a remand order) plainly does not divest the Panel of jurisdiction: Section 1407

recognizes that the Panel’s work in a case ends when the case is “remanded by the panel at or

before the conclusion of such pretrial proceeding,” which means the Panel retains jurisdiction over

a case after its initial transfer until the case is remanded. 28 U.S.C. § 1407(a). Accordingly, the

two decisions that Cobb County cites in no way detract from the critical point—that once a case is

remanded back to the transferor court, the transferor court has exclusive jurisdiction, and neither

the Panel nor the transferee court can reconsider the remand.

       The parties agree that the Panel’s original remand order was finalized well before the

Panel’s February 19, 2025 orders purported to vacate that original remand order and replace it with

a new remand order. Because the Panel has no power to vacate finalized remand orders, it lacked

authority to issue the February 19, 2025 orders. The Panel should vacate both of those orders and

reinstate the original remand order that became final on December 3, 2024.

           B. The Panel’s December 3, 2024 remand order remanded the entire case against
              Publix to the transferor court

       As Publix has comprehensively demonstrated, the December 3, 2024 remand order

remanded Cobb County’s entire “action” against Publix, and did not separate and remand only the

County’s public nuisance cause of action; indeed, neither the Panel’s remand order nor the

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transferee court’s suggestion of remand even mention the words “public nuisance.” Mot. at 5–7.

The County resists this conclusion, but it simply disregards the plain text of the suggestion of

remand and the Panel’s remand order. Rather, the County insists that “the only thing the MDL

Court intended to be tried in the transferor court was whether Publix is liable to Cobb County for

creating or contributing to a public nuisance in Cobb County, Georgia,” and that the remand thus

simply must have been limited to only the public nuisance cause of action. Response at 2. The

County’s contention, in addition to contradicting the actual words of the remand order, suffers from

two further fatal defects.

       First, it ignores that it is the Panel—not the transferee court—that orders remand. See, e.g.,

28 U.S.C. § 1407(a) (providing that cases transferred by the Panel for coordinated or consolidated

pretrial proceedings “shall be remanded by the panel” (emphasis added)); In re Roberts, 178 F.3d

181, 184 (3d Cir. 1999) (“The statutory power to order a remand under § 1407(a) from the

transferee district to the transferor district lies in the Panel, not the transferee district judge.”

(emphasis added)). The transferee court’s unspoken “intentions” are therefore irrelevant.

Regardless, the best indicator of the transferee court’s intentions are the actual words it used in its

suggestion of remand and subsequent “clarification”—and both of these orders specifically suggest

remanding the County’s “claims” (plural) without mentioning the single public nuisance cause of

action (of which the transferee court was plainly aware). T8 Dkt. 90 at 1, 3; T8 Dkt. 93.

       Second, Cobb County’s argument depends entirely on eliding the critical distinction—

which the County itself previously recognized, see MDL Dkt. 3734 at 2–3 n.2—between severance

under Rule 21 (which creates distinct cases with their own appealable final judgments) and

bifurcation under Rule 42 (which separates claims for trial but keeps them within a single case),

see Mot. at 5–6 (collecting cases); accord Wright & Miller, 9A Fed. Prac. & Proc. Civ. § 2387 &



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n.2 (3d ed.) (“The procedure authorized by Rule 42(b) should be distinguished from severance

under Rule 21. . . . Separate trials of claims originally sued upon together usually will result in the

entry of one judgment, but severed claims become entirely independent actions to be tried, and

judgment entered thereon, independently.”). All agree that the transferee court bifurcated the

causes of action in this case under Rule 42, ordering discovery and trial of the public nuisance

cause of action to proceed while staying all remaining causes of action. Response at 8–10; accord

Mot. at 4–5. That does not imply, however, that the transferee court thought only the public

nuisance cause of action would be remanded; remanding all of the causes of action does not

prevent the transferor court from trying only the public nuisance cause of action. After all, Publix

has not objected to a public-nuisance-only trial; it has simply warned about the consequences of

that approach and the lack of finality and appealability of a decision limited to the public nuisance

cause of action.

       Publix’s concern—and the practical upshot of its Motion—is simply that the transferor

court retain jurisdiction to resolve all of Cobb County’s causes of action. That will not “thwart,”

“undermine[],” or “throw out” the transferee court’s “remand strategy,” notwithstanding the

County’s baseless catastrophizing. Response at 6, 18, 21. On the contrary, the transferee court

selected this case as a bellwether specifically to allow the Eleventh Circuit to “weigh in on these

legal issues.” MDL Dkt. 3685 at 10. And as Publix has explained, because the Eleventh Circuit

interprets “claim” in Rule 54(b) to encompass multiple causes of action that, as here, seek

substantially similar relief, placing all of the County’s causes of action before the transferor court

is essential to obtaining eventual appellate review. Mot. at 17 (citing Scott v. Advanced Pharm.

Consultants, Inc., 84 F.4th 952, 960 (11th Cir. 2023); Lloyd Noland Found., Inc. v. Tenet Health




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Care Corp., 483 F.3d 773, 780 (11th Cir. 2007); In re Se. Banking Corp., 69 F.3d 1539, 1547 (11th

Cir. 1995)).

       Cobb County attempts to contest this point, but it misunderstands the issue. It asserts that

an order remanding only the public nuisance cause of action would mean “there is only one claim

and one party on each side in the transferor court, [and] any judgment entered by the transferor

court would have the effect of fully adjudicating the rights and liabilities of the parties.” Response

at 19. That is wrong. Remanding only the public nuisance cause of action would still leave the

County’s other (purported) causes of action in the case (albeit before a different judge); that means

an order resolving the public nuisance cause of action would not constitute a full final “judgment

adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). Cobb

County is likewise wrong to assert that the transferor court could certify an order resolving the

public nuisance cause of action as a partial final judgment under Rule 54(b): A district court can

certify a partial final judgment for appeal under Rule 54(b) only if it has fully adjudicated “an

entire ‘claim,’” and an order resolving only the public nuisance cause of action would not fully

adjudicate an entire claim because the County’s other causes of action “seek[] substantially similar

relief” and are thus “‘part of the same claim under Rule 54(b).’” Scott, 84 F.4th at 960 (emphasis

added; quoting Lloyd Noland, 483 F.3d at 780).∗ This is a jurisdictional rule that appellate courts

“must consider . . . sua sponte,” id. at 958, and that they must apply whether or not an appeal would



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  Cobb County’s Response does not dispute that its various purported causes of action seek
substantially similar relief. Instead, it attempts to address Scott and Lloyd Noland by asserting that
in those cases “the district court granted summary judgment on some claims, but not all.” Response
at 20. That again is wrong. The very point of Scott and Lloyd Noland is that the Eleventh Circuit
lacked appellate jurisdiction because the district court did not fully adjudicate at least one entire
“claim.” As here, the plaintiffs in Scott and Lloyd Noland raised multiple causes of action seeking
substantially similar relief; the Eleventh Circuit did “not have jurisdiction” because the district
court failed to resolve all of these causes of action. Scott, 84 F.4th at 961; see also Lloyd Noland,
483 F.3d at 780–82.
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be otherwise advisable; the County’s observation that “this case is part of a vast MDL and has

undergone years of pretrial activity . . . [and] has implications beyond simply the dispute between

Cobb County and Publix,” Response at 20, is therefore irrelevant. Obtaining appellate review will

require resolving all of the County’s causes of action which make up a single claim; this is why it

makes good practical sense to ensure all of these causes of action are before a single court.

         The Panel’s original order remanding this entire case to the transferor court correctly

applied Section 1407. The order was also consistent with the Panel’s few prior remands in this

MDL—yet another point the County does not contest. See Response at 13–16. That order had been

finalized, and the transferor court had already resumed work on the case. The Panel thus had no

authority to vacate the order. The Panel should reinstate the original remand order and allow this

entire action to proceed in the transferor court.

   II.      The County’s Various Causes of Action Constitute a Single “Claim” That Cannot
            Be Partially Remanded

         With respect to Publix’s second dispositive argument, that the Panel’s February 19, 2025

orders exceed the Panel’s power to “separate . . . and remand” discrete “claims before the

remainder of the action is remanded,” 28 U.S.C. § 1407(a), the County says nothing at all. Over

the course of eight pages, Publix’s initial brief methodically walked through this argument: It

explained that Section 1407 limits the Panel to separating discrete “claims,” that “claim” is a term

of art with a recognized meaning going back more than 80 years which Congress intentionally

adopted in enacting Section 1407, that under this well-established meaning separate causes of

action constitute a single “claim” where they arise out of the same underlying operative facts, and

that the County’s various causes of action all arise out of the same operative facts and thus

constitute a single, indivisible claim. Mot. at 13–20 (citing, inter alia, In re Plumbing Fixture

Cases, 298 F. Supp. at 489–93 & n.1; George v. McDonough, 596 U.S. 740, 746 (2022); Original

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Ballet Russe v. Ballet Theatre, 133 F.2d 187, 189 (2d Cir. 1943); Sherrod v. Wal-Mart Stores, Inc.,

103 F.4th 410, 413 (6th Cir. 2024)).

       Remarkably, the County does not dispute any of these points. Instead, it offers only

mischaracterization, wrongly asserting that “Publix’s argument [is] that the Panel may not remand

only certain ‘claims’ to the transferor court and must instead remand the entire ‘action.’” Response

at 5. As Publix has made inescapably clear, it agrees that Section 1407 authorizes the Panel to

separate and remand a specific “claim.” Publix’s point is that “claim” means the same thing in

Section 1407 that it means elsewhere in the U.S. Code and Federal Rules—and that under that

definition the County’s causes of action constitute a single claim that the Panel cannot further

subdivide. The County offers no response whatsoever to the overwhelming textual, precedential,

and historical evidence establishing this point because there is none.

       As the Panel explained in Plumbing Fixture Cases, one of its earliest decisions:

       [I]n federal civil procedure, the claim for relief is the irreducible legal unit for
       purposes of venue and jurisdiction by a single court at a particular time. This unitary
       concept of the claim for relief permits transfer of the claim for relief from one
       district court to another as in case of a transfer under Sections 1404(a), or 1407. But
       in no such separation and transfer is contemporaneous dual control by two or more
       district courts of a single claim for relief (or separate issues thereof) permissible in
       the federal system.

298 F. Supp. at 495 (emphases added).

       Cobb County’s various purported causes of action are all based on the same factual

allegations and thus constitute a single claim. The Panel’s February 19, 2025 orders would split

that claim, sending part to the transferor court and keeping the rest with the transferee court. The

plain text of Section 1407 and the Panel’s own caselaw confirm that the law bars the Panel from

taking this approach. For this additional, undisputed, independently sufficient reason, the Panel




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should vacate its February 19, 2025 orders and restore its original order remanding Cobb County’s

entire action to the transferor court.

                                         CONCLUSION

        For the foregoing reasons, Publix respectfully requests that the Panel vacate its February

19, 2025 orders and thereby reinstate its earlier order (finalized on December 3, 2024) remanding

Cobb County’s entire action to the transferor court.



Dated: April 9, 2025                         Respectfully submitted,
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